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Marshall County, IL | Case Dispositions                                                                                                                        9/22/23, 2:01 PM



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  Name             No. Qualifier          Desc                                                         Type           Date             Plea     Status
  Count            1                      Ticket Number: 6132                                                         06/03/2017
  Charge           1     Committed        AGG CRIM SX AB/>5 YR OLDER VIC                               Original                        Guilty   Class 2 Felony
   Disposition     1                      101 - Guilty                                                                01/17/2018
    Sentence       1                      201 - DOC                                                    5 years        01/17/2018                Concurrent
    Sentence       2                      211 - Credit Time Served                                     188 days       01/17/2018                In Force
    Sentence       3                      303 - Costs Only                                                            01/17/2018                In Force
  Count            2                      Ticket Number: 5624                                                         06/03/2017
  Charge           1     Committed        VIOLATE ORDER PROTECTION                                     Original                        Guilty   Class A Misdemeanor
   Disposition     1                      101 - Guilty                                                                01/17/2018
    Sentence       1                      201 - DOC                                                    5 years        01/17/2018                Concurrent
    Sentence       2                      211 - Credit Time Served                                     188 days       01/17/2018                In Force
    Sentence       3                      303 - Costs Only                                                            01/17/2018                In Force


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                         3:23-cv-03299-MMM-JEH # 1-3                              Filed: 10/19/23             Page 2 of 2


                                   IN THE CIKCUIT COURT OF THE TENTH JUDICÍAL CIRCUIT
                                                     MARSHALL, COUNTY, ILLINOIS
                                                                                                                  FILED
                                                                                                         CIRCUIT COUAT MAASHALL COUNTY, IL
People of the State of llinois
                                                                       No.      -cf- 22                               JAN 17 2018

                                    Defendant                                                                 CLERK OF THE CIRCUIT COURT
Check if Present:                  P.0.
                                  Defense Counsel          State's Attorñey          9 Court Reporter S-B.
         Defendant
                                                                 FINAL ORDER

This cause coming on to be heard upon the sworn Complaint/lnformation/indictment filed  herein and the Court being fully advised in
                                                                                    that defendant is present in open court with/has
the premises finds it has jurisdiction of the defcndant and the subject matter hereof and
waived his/her right to counsel.
                                                                   FINDINGS

                1.   The Court finds the defendant's age to be     S,and:
            2.       Being fully advised of his/her ights herein understanding waives his/her ight to a jury trial;
                     Enters a negotiated/partially Degoliatediopet plea of guilty after being informed of the minimum and maximum
            3.
                     possible penalties provided by law and the consequences thereof for each charge.
                     This cause coming on for trial before the jury/court, and the jurylcourt having considered the testimony of witnesses
                     swom and examined under oath in open Court and having considered the exhibits admitted into evidence and having
                     heard the arguments of counsel.
                     Preliminary hearing held: probable cause not found;
                     Although duly notified of the time and place of hearing and Trial in Absentia, defendant fails to appear;
                     People/Defendant move(s) to dismiss on grounds of
            8.       Other:

                                                                             ORDER


                      Defendant is found guily of
                                                                                                              a class             4offenses
            A.
            B.
                                     A
                     Defendant stands convicted ofTLv
                                                                                                                            of People/Defendant,
                     Defendant is found not guilty/discharged, case dismissed with/without leave to reinstate on motion         sums due in other
                     bond less bond costs to be applied to outstanding fines, costs, PD fees, and restitution in this Case, and
                                                                                                                                    warrant quashed.
                     cases before this Court; the balance if any, shall be refunded to defendant or assignee therein: outstanding
                                                               SENTENCE/DISPOSITION

                     Defendant shall pay: line $                 FC), costs $ 3            PD fees s3o0           and restitution $
            D.
                     Bond less costs (S             o apply; balance due $ ID3Y          The clerk is to direct restitution to:

                     Said balance due is to be paid through the Clerk of this Court, at the rate of not less than $   per month,
                     Commencing                           to be paid in full by                      at 9:30am,  OR
                     Defendant mustappear in court at that date and time. Failure to pay or appear may result in issuance of a
                     warrant.
                     Defendant is further sentenced to:
                                    Imprisonment in the custody of the-CheitDept of Corrections; for a term of.
                                    dayelmoguhs/years with credi for                  days served and dey fordayercdittruth in sentencing.
                              2     Work Releaselre        Imprisonment in the custody of the Sheriff and subject to all rules and fees thereof.
                                 With/without              eredit. for a term of              days/months commencing
                                 (specify schedule on line G below) reverting to straight time if fees not timely paid.
                                                                                                                    ILCS 550o/10 or 570?410)
                              3. Probation/Conditional Discharge/Court Supervision/Voluntary Probation(720 I
                                                                                in the Certificate of Conditions made a part hereof and probation
                                 Granted subject to the conditions specified
                                  Fees of S           monthly, for a period  of                days/months.
            F        The Cour advi_es defendant of appellate rights, right to counsel and transçript on appeal.
                                                               conctIrmt
           G.         Other..

    Approved:                                                                  Judge df the Tenth Judicial Circuit
    Entered:              (?. 19
